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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------X                                              10/8/2021
THE PHILLIES,                    :
                                 :
                  Plaintiff,     :                          19 Civ. 7239 (VM)
                                 :
          -against-              :                    CORRECTED CONDITIONAL
                                 :                   ORDER OF DISCONTINUANCE
HARRISON/ERICKSON, INC., et al., :                       WITHOUT PREJUDICE
                                 :
                                 :
                  Defendants     :
---------------------------------X

VICTOR MARRERO, U.S.D.J.:

      This   Order     corrects     the    Order     at    Docket    Number      170,   which

inadvertently listed the incorrect parties.

      Magistrate Judge Netburn, to whom this case was referred for a

report and recommendation on the various summary judgment motions and a

settlement conference, having informed the Court that the parties had

reached an agreement in principle to settle this action without further

litigation, it is hereby

      ORDERED, that this action be conditionally discontinued without

prejudice and without costs. Within 30 days of the date of this Order,

the parties may submit to the Court their own Stipulation of Dismissal

for the Court to So Order. Any application for restoration of the action

to the active calendar of this Court must be made by letter within 30

days of the date of this order. Upon such notification, the defendant(s)

shall continue to be subject to the Court's jurisdiction, the Court shall

promptly reinstate the action to its active docket and the parties shall

be   directed    to   appear    before     the   Court,    without       the    necessity   of

additional      process,   on   a   date    within    10    days    of    the    plaintiff’s
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application   for   reinstatement,   to   schedule   remaining   pre-trial

proceedings and/or dispositive motions, as appropriate. This Order shall

be deemed a final discontinuance of the action with prejudice in the

event plaintiff has not requested restoration of the case to the active

calendar within such period of time.

     The Clerk of Court is respectfully requested to terminate any

pending motions and to close this case.

SO ORDERED.

Dated:     NEW YORK, NEW YORK
           08 October 2021
